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                               UNITE!) STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF NEW YORK:

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                                      n
KRISTOPHER R. OLSON, CHltISTOPHER                        :
LOPEZ, WARREN BARBER,      .~
                            '
CHRISTOPHER CLIFFORD and ERIK                                        20 Civ. 632 (JSR)
LIPTAK,                                                             20 Civ., 1000 (JSR)

                              Plaintiffs,
                     V.

MAJOR LEAGUE BASEBALL; MLB                                         lf vsDcsnNY
ADVANCED MEDIA, L.P.; HOUSTON                                       DOCUMENT
ASTROS, LLC; and BOSTON RED SOX                                     ELECTRONICALLY FILED
BASEBALL CLUB, L.P.,
                                                                    DOC#~---::--+~:..._
                              Defendants.                           DATE l'.ILED:       c)
----------------------------------------------------------X
                                         PROTECTIVE ORDER

JED S. RAKOFF, U.S.D.J.

        The parties having agreed to the following terms of confidentiality, and the Court having

found that good cause exists for issuance of an appropriately-tailored confidentiality order

governing the pre-trial phase of this action, it is therefore hereby

        ORDERED that any person subject to this Order - including w~thout limitation the

parties to this action, their representatives, agents, experts and consultants, all third parties

providing discovery in this action, and all other interested persons with actual or constructive

notice of this Order - shall adhere to the following terms, upon pain of contempt:

         1.      Any person subject to this Order who receives from any other person any

"Discovery Material" (i.e., information of any kind provided in the course of discovery in this

action) that is designated as "Confidential" or "Highly Confidential" pursuant to the terms of this

Order shall not disclose such Discovery Material to anyone else except as expressly permitted

hereunder.
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         2.     The person producing any given Discovery Material may designate as

Confidential only such portion of such material as consists of:

         (a)    confidential, proprietary, financial, customer, client or commercial information,

trade secrets or nonpublic research or business development;

         (b)    previously nondisclosed material relating to ownership or control of any non-

public company;

         (c)    non-public business plans, product development information, or marketing plans;

         (d)    any information of a personal or intimate nature regarding any individual;

         (e)    any information kept confidential pursuant to law or regulation; or

         (f)    any other category of information hereinafter given Confidential status by the

Court.

         3.     The person producing any given Discovery Material may designate as Highly

Confidential only such portion of such material as consists of:

         (a)    trade secrets or other information that the party reasonably believes the

unauthorized disclosure of which would result in competitive, commercial or financial harm to

the producing party or its personnel, clients, or customers;

         (b)    any other material the producing party believes in good faith would not otherwise

be adequately protected under the procedures set forth herein if designated Confidential;

          (c)   information to which applicable law -- foreign or domestic -- requires the

equivalent of "Highly Confidential" treatment; or

          (d)   any other category of information hereinafter given Highly Confidential status by

the Court.




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       4.      With respect to the Confidential or Highly Confidential portion of any Discovery
                                                                           ;


Material other than deposition transcripts and exhibits, the producing person or that person's

counsel may designate such portion as "Confidential" or "Highly Confi~ential" by stamping or

otherwise clearly marking as "Confidential" or "Highly Confidential" the protected portion in a

manner that will not interfere with legibility or audibility, and, to the extent necessary, by also

producing for future public use another copy of said Discovery Material with the confidential

information redacted. With respect to deposition transcripts and exhibits, confidentiality

designations shall be made by the producing party or that person's courisel either on the record or

by written notice to the parties present and the stenographer and the vi~eographer in writing,

within fourteen (14) days after receipt of the final deposition transcript that designated testimony

is Confidential or Highly Confidential. During the 14-day designation period, all deposition

transcripts shall be treated as Highly Confidential. To the extent deposition material is

designated as Confidential or Highly Confidential, the transcript of the designated testimony

shall be bound in a separate volume and marked "Confidential Information Governed by

Protective Order" or "Highly Confidential Information Governed by Protective Order" by the

reporter.

        5.     If at any time prior to the trial of this action, a person realizes that some portion[s]

of Discovery Material previously produced without limitation should oe designated as

Confidential or Highly Confidential, he may so designate by so apprising all parties in writing,

and such designated portion[s] of the Discovery Material will thereafter be treated as

Confidential or Highly Confidential under the terms of this Order.




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        6.      No person subject to this Order other than the producing 'person shall disclose any

of the Discovery Material designated by the producing person as Confidential to any other

person whomsoever, except to:

        (a)     outside counsel retained specifically for this action, including any paralegal,

clerical and other assistant employed by such counsel and assigned to this matter;

        (b)     in-house counsel to whom it is reasonably necessary to disclose the information in

connection with this action;

        (c)     current officers, directors, or employees of the parties to.the extent that such

disclosure is reasonably necessary for the action;

        (d)     as to any document, its author, its addressee, and any other person established to

have received a copy or otherwise been aware of or had access to the information reflected

therein prior to its production in this action;

        (e)     in connection with their depositions or trial testimony, ~itnesses and their counsel

to whom disclosure is reasonably necessary, provided such persons have first executed a

Non-Disclosure Agreement in the form annexed as an Exhibit hereto;

        (f)     any person retained by a party to serve as an expert witness or otherwise provide

specialized advice or services to counsel in connection with this action, provided such person has

first executed a Non-Disclosure Agreement in the form annexed as an Exhibit hereto;

        (g)     stenographers engaged to transcribe depositions conduc,ted in this action;

        (h)     the Court and its support personnel; and

        (i)     mediators or other third parties who are appointed by the Court or retained by the

parties for settlement purposes and their support personnel.




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        7.     No person subject to this Order other than the producing party shall disclose any

of the Discovery Material designated by the producing person as Highly Confidential to any

other person whomsoever, except, as necessary, to the persons identified in subsections (a), (d),

and (e) through (h) of paragraph 6 above, as well as to any in-house litigation counsel of the

Party whose access to the information is reasonably required to supervise or manage this case.

To the extent it is necessary to disclose Discovery Material designated as Highly Confidential to

any persons identified in subsection (e) of paragraph 6 above, the party who intends to disclose

such material must provide the producing person 48 hours' notice befoi;e disclosure unless a

shorter notice period is required under the circumstances.

        8.     Prior to any disclosure of any Confidential Discovery Material to any person

referred to in subparagraphs 6(c), 6(e) or 6(f) above, or any disclosure of Highly Confidential

Discovery Material to any person referred to in subparagraphs 6(e) or 6(f) above, such person

shall be provided by counsel with a copy of this Protective Order and s~all sign a Non-

Disclosure Agreement in the form annexed as an Exhibit hereto stating that that person has read

this Order and agrees to be bound by its terms. Said counsel shall retain each signed Non-

Disclosure Agreement, hold it in escrow, and produce it to opposing counsel either prior to such

person being permitted to testify (at deposition or trial) or at the conclusion of the case,

whichever comes first.

        9.     All Confidential or Highly Confidential Discovery Material filed with the Court,

and all portions of pleadings, motions or other papers filed with the Court that disclose such

Confidential or Highly Confidential Discovery Material, shall be filed under seal with the Clerk

of the Court and kept under seal until further order of the Court. The parties will use their best

efforts to minimize such sealing. In any event, any party filing a motion or any other papers with




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the Court under seal shall also publicly file a redacted copy of the same, via the Court's

Electronic Case Filing system, that redacts only the Confidential or Highly Confidential

Discovery Material itself, and not text that in no material way reveals the Confidential or Highly

Confidential Discovery Material.

        10.    Any party who objects to any designation of confidentiality, may at any time prior

to the trial of this action serve upon counsel for the designating person a written notice stating

with particularity the grounds of the objection or request. If agreement cannot be reached

promptly, counsel for all affected persons will convene a joint telephon~ call with the Court to

obtain a ruling.

        11.    All persons are hereby placed on notice that the Court is ~nlikely to seal or

otherwise afford confidential treatment to any Discovery Material introduced in evidence at trial,

even if such material has previously been sealed or designated as Confidential or Highly

Confidential. The Court also retains unfettered discretion whether or not to afford confidential

treatment to any Confidential or Highly Confidential Document or information contained in any

Confidential or Highly Confidential Document submitted to the Court in connection with any

motion, application, or proceeding that may result in an order and/or decision by the Court.

        12.        Each person who has access to Discovery Material that has been designated as

Confidential or Highly Confidential shall take all due precautions to prevent the unauthorized or

inadvertent disclosure of such material.

        13.        It is expressly contemplated, agreed and ordered that third parties who provide

Discovery Material in this action may invoke all provisions of this Order as to that Discovery

Material, and that the parties to this Order will treat all Discovery Material designated by such

third parties as Confidential or Highly Confidential in accordance with the terms of this Order.




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Any party seeking or receiving third party Discovery Material shall promptly disclose the

existence of this Order to the producing third party.

       14.     If, in connection with this litigation, a party inadvertently discloses information

protected from disclosure under the attorney-client privilege, attorney wdrk product doctrine, or

any other applicable United States or foreign statute, law, regulation, privilege, or immunity

from disclosure ("Inadvertently Disclosed Information"), consistent with Federal Rule of

Evidence 502(d), such disclosure shall not constitute or be deemed a waiver or forfeiture of any

claim of privilege, work product, or other protections with respect to the.Inadvertently Disclosed

Information and its subject matter.

       15.     If a disclosing party makes a claim of inadvertent disclosure, the receiving party

shall, within five business days, return, sequester or destroy all copies of the Inadvertently

Disclosed Information, and provide a written certification of counsel that all such information

has been returned, sequestered or destroyed.

        16.    Within five business days of the notification that such I°iadvertently Disclosed

Information has been returned, sequestered or destroyed, the disclosing' party shall produce a

privilege log with respect to the Inadvertently Disclosed Information. The parties may stipulate

to extend the time periods set forth in paragraphs 15 and 16.

        17.    The receiving party may move the Court for an Order compelling production of

the Inadvertently Disclosed Information. During the pendency of the motion, the receiving party

must either sequester or destroy the Inadvertently Disclosed Information. The motion shall be

filed under seal, and shall not assert as a ground for entering such an Order the fact or

circumstances of the inadvertent production. However, a party is not precluded from arguing

that a privilege or protection does not exist and/or has been waived for reasons other than the




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production of a document or information subsequently clawed back in accordance with the terms

of this Order.

        18.      The disclosing party retains the burden of establishing the privileged or protected

nature of any Inadvertently Disclosed Information. Nothing in this Order shall limit the right of

any party to request an in camera review of the Inadvertently Disclosed Information.

        19.      This Protective Order shall survive the termination of the 'litigation. Within 30

days of the final disposition of this action, all Discovery Material designated as "Confidential or

"Highly Confidential" and all copies thereof, shall be promptly returned to the producing person,

or destroyed, except that counsel may keep a set of documents that were filed in Court.

        20.      If any party receives a subpoena, order or other request from a court,

administrative or legislative body, or any other person or entity not a party to the above-

captioned action purporting to have authority to require the production of any Discovery

Material designated as Confidential or Highly Confidential, that party shall give written notice

(by e-mail, if possible) within ten days to counsel for the person or entity that produced the

Discovery Material, provided doing so would not result in violation of any law or government

directive. The party receiving the subpoena shall not produce Confidential or Highly

Confidential Discovery Material until the person or entity that produced the Discovery Material

has had a reasonable opportunity to bring a motion to prevent or limit the disclosure, provided

doing so would not result in violation of any law or government directive.

        21.      This Court shall retain jurisdiction over all persons subject to this Order to the

extent necessary to enforce any obligations arising hereunder or to impose sanctions for any

contempt thereof.




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SO STIPULATED AND AGREED.
Dated: March 11, 2020
       New York, New York

 ~Gc/u4/SHQc
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SO ORDERED:


                                                   NewYork,NY

U.S.D.J.
                                                   Date~: 3/1¢,,/.2(:;1




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                               UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF NEW YORK

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KRISTOPHER R. OLSON, CHRISTOPHER
LOPEZ, WARREN BARBER,
CHRISTOPHER CLIFFORD and ERIK                                      20 Civ. 632 (JSR)
LIPTAK,                                                           20 Civ. 1000 (JSR)

                              Plaintiffs,
                     V.


MAJOR LEAGUE BASEBALL; MLB
ADVANCED MEDIA, L.P.; HOUSTON
ASTROS, LLC; and BOSTON RED SOX
BASEBALL CLUB, L.P.,

                              Defendants.
----------------------------------------------------------X
                                 NON-DISCLOSURE AGREEMENT

        I, _ _ _ _ _ _ _ _ _, acknowledge that I have read and understand the Protective

Order in this action governing the non-disclosure of those portions of Discovery Material that

have been designated as Confidential and Highly Confidential. I agree that I will not disclose

such Confidential or Highly Confidential Discovery Material to anyone other than for purposes

of this litigation, will disclose such Confidential or Highly Confidential Discovery Material only

as expressly permitted by the Protective Order, and that at the conclusion of the litigation I will

return all discovery information to the party or attorney from whom I r,eceived it. By

acknowledging these obligations under the Protective Order, I understand that I am submitting

myself to the jurisdiction of the United States District Court for the Southern District of New

York for the purpose of any issue or dispute arising hereunder and that my willful violation of

any term of the Protective Order could subject me to punishment for contempt of Court.


DATED: _ _ _ _ __
